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MAE H. BROOKS,
Plaintiff,
v.

No. 05-2311 Ml/P

JOANNE BARNHART, COMMISSIONER
OF SOCIAL SECURITY,

`J`vavv"`¢f`l{v

Defendant.

 

ORDER GRANTING RELIEF FROM JUDGMENT PURSUANT TO RULE GO(B)
ORDER DENYING MDTION TO REMAND

 

On July 29, 2005, Plaintiff Mae H. Brooks filed a Motion for
Entry of Judgment Under Sentence Four of 42 U.S.C. § 405(9) With
Remand of the Cause to the Defendant. Plaintiff’s motion
indicated that Defendant did not object to the relief sought. On
August l, 2005, the Court granted Plaintiff's motion and entered
a Judgment remanding this case to an Administrative Law Judge for
additional findings.

On August 5, 2005, Defendant filed an Opposition to
Plaintiff's Motion to Remand, indicating that it did, in fact,
object to the relief sought by Plaintiff. The Court construes

Defendant's objection as a motion for relief from judgment

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with Rule 58 and,'or 79(a) FRCP on ‘ /é

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pursuant to Federal Rule of Civil Procedure 60(b).1 Pursuant to
Rule 60(b)(l}, the Court hereby WITHDRAWS its August l, 2005,
Order of Remand and its August l, 2005, Judgment.

With respect to the merits of Plaintiff's motion to remand,
Plaintiff states that she became gravely ill and required in-
patient hospital care from March 3, 2005, through May 3, 2005,
for a variety of serious medical problems. Plaintiff contends
that these conditions were the same conditions alleged by her to
be the causes of her disability, which provides good cause to
remand her case to an Administrative Law Judge for additional
findings of fact and reconsideration.

Having reviewed the record and the parties' submissions, the
Court finds that no good cause exists to remand Plaintiff's case
for additional findings of fact and reconsideration. In order to
warrant remand due to new evidence under 42 U.S.C. § 405(g),
Plaintiff must show that the proffered evidence is new, material,
and that there is good cause for not presenting it in the prior
proceeding. Cline v. Comm'r of Social Sec., 96 F.3d 146, 148 (6th
Cir. 1996). The Commissioner’s final decision in this case was

issued on November 18, 2004. Plaintiff alleges that she

 

1 Rule 60(b) provides, in pertinent part:
On motion and upon such terms as are just, the court
may relieve a party or a party's legal representative
from a final judgment, order, or proceeding for the
following reasons: {l) mistake, inadvertence, surprise
or excusable neglect

Fed. R. Civ. P. 60(b).

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experienced a deterioration in her condition from March through
May of 2005. Evidence of a subsequent deterioration or change in
condition after the administrative hearing, however, is deemed
immaterial to a decision to remand. antt v. Sec. of Health and
Human Servs., 914 F.2d 680, 685 (6th Cir. 1992). Accordingly,
Plaintiff’s motion to remand is DENIED.

The parties shall hereinafter comply with the following
schedule in this case:

Plaintiff shall file a brief in support of her asserted

claim within 20 days from the date of entry of this order.

Defendant's brief shall be filed within 30 days from the

filing of Plaintiff's brief.

A reply brief may be filed within lO days of the filing of

Defendant's response brief.

No further briefs shall be filed absent leave of court.

so oRDsRso this lc] day cf Auqust, 2005.

,_Qm‘@ll

P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 16 in
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Honorable Jon McCalla
US DISTRICT COURT

